   Case 1:10-cr-00016-SPM-GRJ                        Document 113-1       Filed 10/28/11     Page 1 of 6


FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                           Page 1 of 6
1:10CR16-002 - KELLY ANN SCHULZ
                                      UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF FLORIDA
                                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA

-vs-                                                             Case # 1:10CR16-002

KELLY ANN SCHULZ
                                                                 USM # 20672-017

                                                                 Defendant’s Attorney:
                                                                 Stephen Bernstein (Retained)
                                                                 500 East University Avenue, Suite E
                                                                 Gainesville, Florida 32601
___________________________________
                        JUDGMENT IN A CRIMINAL CASE

The defendant pled guilty as to Count 1 of the Indictment on July 27, 2011. Accordingly, IT IS
ORDERED that the defendant is adjudged guilty of such count which involves the following offense:
       TITLE/SECTION                                 NATURE OF                   DATE OFFENSE
          NUM BER                                     OFFENSE                     CONCLUDED        COUNT

 21 U.S.C. §§ 841(a)(1),          Conspiracy to Manufacture and Possess           March 11, 2010       1
 841(b)(1)(B)(vii) and            with Intent to Manufacture More Than 100
 846                              Marijuana Plants

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

Count 2 is dismissed on a motion by the Government.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.


                                                                 Date of Imposition of Sentence:
                                                                 October 17, 2011




                                                                 S/ Stephan P. Mickle
                                                                 Stephan P. Mickle
                                                                 Senior United States District Judge

                                                                 Date: October 28, 2011                     _
   Case 1:10-cr-00016-SPM-GRJ                        Document 113-1     Filed 10/28/11   Page 2 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                       Page 2 of 6
1:10CR16-002 - KELLY ANN SCHULZ

                                                   IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of twenty-seven (27) months.

The defendant shall surrender to the United States Marshal in Gainesville, Florida or to the
institution designated by the Bureau of Prisons on or before November 17, 2011, no later than
12:00 noon. The bond is continued until the executed return of judgment is filed with the court,
at which time the bond is exonerated.




                                                           RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                 __________________________________
                                                                        UNITED STATES MARSHAL


                                                               By:__________________________________
                                                                           Deputy U.S. Marshal
      Case 1:10-cr-00016-SPM-GRJ                     Document 113-1      Filed 10/28/11         Page 3 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                  Page 3 of 6
1:10CR16-002 - KELLY ANN SCHULZ

                                             SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term
of five (5) years.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

        The defendant shall not commit another federal, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

        The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                             STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.       the defendant shall not leave the judicial district without the perm ission of the court or probation
         officer;

2.       the defendant shall report to the probation officer and shall subm it a truthful and com plete written
         report within the first five days of each m onth;

3.       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
         of the probation officer;

4.       the defendant shall support his or her dependents and m eet other fam ily responsibilities;

5.       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
         schooling, training, or other acceptable reasons;

6.       the defendant shall notify the probation officer at least 10 days prior to any change in residence or
         em ploym ent;

7.       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
         distribute, or adm inister any controlled substance or any paraphernalia related to any controlled
         substances, except as prescribed by a physician;

8.       the defendant shall not frequent places where controlled substances are illegally sold, used,
         distributed, or adm inistered;

9.       the defendant shall not associate with any persons engaged in crim inal activity and shall not associate
         with any person convicted of a felony unless granted perm ission to do so by the probation officer;

10.      the defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and
      Case 1:10-cr-00016-SPM-GRJ                     Document 113-1         Filed 10/28/11          Page 4 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                     Page 4 of 6
1:10CR16-002 - KELLY ANN SCHULZ
         shall perm it confiscation of any contraband observed in plain view of the probation officer;

11.      the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
         law enforcem ent officer;

12.      the defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law
         enforcem ent agency without the perm ission of the court; and

13.      as directed by the probation officer, the defendant shall notify third parties of risks that m ay be
         occasioned by the defendant’s crim inal record or personal history or characteristics and shall perm it
         the probation officer to m ake such notifications and to confirm the defendant’s com pliance with such
         notification requirem ent.

14.      if this judgm ent im poses a fine or a restitution obligation, it shall be a condition of supervision that the
         defendant pay any such fine or restitution in accordance with the Schedule of Paym ents set forth in
         the Crim inal Monetary Penalties sheet of this judgm ent.

                     ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         The defendant shall also comply with the following additional conditions of
         supervised release:

1.       The defendant shall report in person to the probation office in the district to which she is released
         within 72 hours of release from the custody of the Bureau of Prisons.

2.       The defendant shall not own or possess a firearm , dangerous weapon, or destructive device.

3.       The defendant shall be evaluated for substance abuse and referred to treatm ent as determ ined
         necessary through an evaluation process; and m ay be tested for the presence of illegal controlled
         substances or alcohol at any tim e during the term of supervision.

4.       The defendant shall provide the probation officer all requested financial inform ation, business and
         personal.

       Upon a finding of a violation of probation or supervised release, I understand the Court may
(1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have been
provided a copy of them.




         Defendant                                                                Date




         U.S. Probation Officer/Designated Witness                                Date
   Case 1:10-cr-00016-SPM-GRJ                        Document 113-1    Filed 10/28/11   Page 5 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                        Page 5 of 6
1:10CR16-002 - KELLY ANN SCHULZ

                                    CRIMINAL MONETARY PENALTIES

         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                     Fine                 Restitution

               $100.00                                     $5,000.00                NONE




                                   SPECIAL MONETARY ASSESSMENT

 A special monetary assessment of $100.00 is imposed, and is due in full immediately.

                                                            FINE

        A fine in the amount of $5,000.00 is imposed, and is due in full immediately.

                                                     RESTITUTION

                                                            NONE
     Case 1:10-cr-00016-SPM-GRJ                      Document 113-1   Filed 10/28/11        Page 6 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                             Page 6 of 6
1:10CR16-002 - KELLY ANN SCHULZ

                                          SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-federal
victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; (7) penalties
in full immediately

The defendant must notify the court of any material changes in the defendant’s economic
circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of a
change in the defendant’s economic condition, the Court may adjust the installment payment
schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to
the commencement of supervision, the U.S. probation officer shall pursue collection of the amount
due. The defendant will receive credit for all payments previously made toward any criminal
monetary penalties imposed.

The defendant shall forfeit the defendant’s interest in the following property to the United States:

A.       Real Property located at 22718 East County Road 1474, Hawthorne, Florida, with all
         improivements and appurtenances thereon, more specifically described in Exhibit A of the
         Government’s Motion for Entry of Preliminary Order of Forfeiture;
B.       $6,012 in United States Currency;
C.       Ruger M77 Rifle, SN: 781-92321
D.       Browning Model 30, 12 gauge shotgun, SN: 10111NW152
E.       Rossi M59, .22 magnum rifle, SN: H006235
F.       Marlin 218 BEE, Model 1894CL, SN: 10083159
G.       Savage, Model 300, .30 caliber rifle, SN: 424389
H.       L.C. Smith 12 gauge shotgun, SN: 30806
I.       Winchester, Model 94, 30-30 rifle, SN: 3105309
J.       Ithaca 12 gauge shotgun, SN: 12434
K.       L.C. Smith 20 gauge shotgun, Model No. SB41, SN: C1228770
L.       Smith & Wesson 36 revolver, SN: J319903
